                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

 In re: Madison Chiropractic & Nutrition            )          Case No.: 18-82075-CRJ-11
        Center, LLC                                 )
                                                    )
                Debtor.                             )          CHAPTER 11

                           ORDER CONFIRMING FIRST AMENDED
                          CHAPTER 11 PLAN OF REORGANIZATION


        This case came before the Court on May 6, 2019 for confirmation of the First Amended
 Plan of Reorganization [Doc. 66] (the “Plan”) filed by Madison Chiropractic & Nutrition Center,
 LLC (the “Debtor”) on February 27, 2019. Present during the hearing were Tazewell T. Shepard
 IV, counsel for the Debtor, and Richard M. Blythe, counsel for the Bankruptcy Administrator.

        The Court had jurisdiction to conduct the hearing and to confirm the Plan pursuant to 28
 U.S.C. § 1334. Confirmation of a Plan is a core proceeding pursuant to 28 U.S.C. § 157(b) and
 this Court has jurisdiction to enter a final order with respect thereto. Further, the Debtor is proper
 debtor under 11 U.S.C. § 109 of the Bankruptcy Code and is a proper proponent of the Plan under
 11 U.S.C. § 1121(a).

        The record reflects that a copy of the Debtor’s Plan was properly served upon the creditors
 and equity security holders, and notice of the Confirmation Hearing was sent to all interested
 parties in accordance with Rule 2002 of the Federal Rules of Bankruptcy Procedure.

        In accord with the Amended Summary of Ballots filed by the Debtor [Doc. 89], counsel
 for the Debtor reported that Class 4, the general unsecured creditor class, voted in favor of
 accepting confirmation of the Plan. Class 4 is impaired and entitled to vote on acceptance or
 rejection of confirmation of the Plan. No classes of creditors voted to reject the Plan. The record
 reflects, and counsel for the Debtor confirmed, that no parties-in-interest filed a timely objection
 to confirmation.

        Upon consideration of the pleadings, statements by counsel in open court, and the Debtor’s
 Brief in Support of Confirmation of its Chapter 11 Plan of Reorganization [Doc. 81], the Court
 finds as follows:




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           A.     The Plan complied with all applicable provisions of the Bankruptcy Code
 governing notice, disclosure, and solicitation in connection with the Plan, Disclosure Statement
 and all other matters considered by this Court in connection with this case, thereby satisfying 11
 U.S.C. § 1129(a); and

           B.     The Plan carried all classes which voted on the Plan. Accordingly, a “cram down”
 request was not necessary and consideration of 11 U.S.C. § 1129(b) is unwarranted.

           Based on the foregoing, it is hereby ORDERED, ADJUDGED and DECREED as
 follows:

           1.     The First Amended Chapter 11 Plan of Reorganization filed on February 27, 2019
 by the Debtor, Madison Chiropractic & Nutrition Center, LLC, is hereby CONFIRMED;

           2.     The Debtor and all creditors in this case are bound by the confirmed Plan;

           3.     All property of the Debtor’s estate shall vest in the Debtor on the confirmation date
 subject to the provisions of the confirmed Plan, and the Debtor shall be authorized to resume and
 conduct its normal course of business without being required to seek further authority from the
 Court;

           4.     Except as provided in the confirmed Plan, all property of the estate vests in the
 Debtor free and clear of any other claims or interests; and

           5.     In accordance with the provisions of the confirmed Plan, the Court shall retain
 jurisdiction over this case until the confirmed has been substantially consummated and the case
 closed.




           Dated this the 10th day of May 2019.

                                                        /s/ Clifton R. Jessup, Jr.
                                                        Clifton R. Jessup, Jr.
                                                        United States Bankruptcy Judge


 Prepared by:
 Tazewell T. Shepard IV
 Attorney for Debtor




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